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                                                                                                                             '   ’
                                                                                                                                     FILE
                                                                                                                     5/17/2021 12:00A
                                                                                                                       FELICIA PITF
              Case 3:21-cv-01250-N Document 1-6 Filed 05/28/21                       Page 2 of 4 PageID 29         DISTRICT CLEF
                                                                                                                DALLAS C ., TEX!
                                                    CAUSE No. Deal-05553                                        Felicia purSDEpm


       JENNIFER TEMPLE                                           §                    1N THE    DISTRICT COURT
                                                                 §
                                                                 §
                         Plaintims),                             §
       vs.                                                       §                    191ST JUDICIAL DISTRICT
                                                                 §
       WFAA-Tv, INC.                                             §
                                                                 §
                        Defendant(s).                            §                    DALLAS COUNTY, TEXAS

                                              RETURN OF SERVICE
   Came to my hand on Friday, May 7, 2021 at 11:08 AM,
   Executed at: 1999 BRYAN STREET, STE 900, DALLAS, TX 75201
   Within the county of DALLAS at 11:58 AM, on Friday, May 7, 2021,
   by delivering to the within named:

                                                      WFAA-TV, INC.

   By delivering to its Registered Agent, CT CORPORATION SYSTEM
   By delivering to its Authorized Agent, LINDSEY BARRIENTEZ
   a true copy of this

                CITATION AND PLAINTIFF’S ORIGINAL PETITION with CHARGE 0F
                                 DISCRIMINATION attached

    having ﬁrst endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Ernesto Martin Herrera who after being duly
sworn on oath states: "My name is Ernesto Martin Herrera. I am a person not less than eighteen (18) years of age and I
am competent to make this oath. I am a resident of the State of Texas. I have personal knowledge of the facts and
statements contained herein and aver that each is true and correct. I am not a party to nor related or afﬁliated with any
party to this suit. I have no interest in the outcome of the suit. I have never been convicted of a felony or of a
misdemeanor involving moral turpitude. I am familiar with the Texas Rules of Civil Procedure, and the Texas Civil
Practice and Remedies Codes as they apply to service of process. I am certiﬁed by the Judicial Branch Certiﬁcation
Commission to deliver citations and other notices from any District, County and Justice Courts in and for the State of
Texas in compliance with rule 103 and 501.2 of the TRCP.”




    By:        f/M/ﬁﬁz/L
       Ernesto Martin Herrera - PSC 4418 - Exp 11/30/21
        served@specialdelivery.com


    Subs :r      and Sworn to by Ernesto Martin Herrera, Before Me, the undersigned authority, on
    this    big] day of May, 2021.                                               t
                                                                                                   y




                                       CHARITY N COLEMAN
                          3"‘wwuuu,”      Notary Public              Notary Public         for‘t‘he State of Texas

                            gag,
                         \ﬁi‘»   :1.
                                      STATE OF TEXAS
                                        lD#12523831—2
                           “Wham-m“ MComm.
                                                                                     iﬂd
                                               March
                                             Exp.     21, 2025
                      Case 3:21-cv-01250-N Document 1-6 Filed 05/28/21                          Page 3 of 4 PageID 30




FORM NO. 353-3 - CITATION                                                                                                      ESERVE
THE STATE OF TEXAS
                                                                                                                             CITATION
To:     WFAA-TV, INC.
        SERVING REGISTERED AGENT CT CORPORATION SYSTEM                                                                       DC-21-05553
        1999 BRYAN ST STE 900
        DALLAS TX 75201
                                                                                                                          JENNIFER TEMPLE
GREETINGS:                                                                                                                         Vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                WFAA-TV, INC.
Answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days aﬁer you were served this citation and petition, a default judgment may be taken
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial               .
                                                                                                                            ISSUED THIS
disclosures to the other patties of this suit. These disclosures generally must be made no later than 30 days            6th day of May, 2021
aﬁer you ﬁle your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be
addressed to the clerk of the 191st District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                           FELICIA PITRE
Said Plaintiff being JENNIFER TEMPLE                                                                                     Clerk District Courts,
                                                                                                                         Dallas County, Texas
Filed in said Court 30th day of April, 2021 against

WFAA-TV, INC.                                                                                                   By: CARLENIA BOULIGNY, Deputy

For Suit, said suit being numbered DC-21-05553, the nature of which demand is as follows:                                Attorney for Plaintiff
Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation. If                       JAMIE J GILMORE
this citation is not served, it shall be returned unexecuted.                                                         BAILEY & GALYEN
                                                                                                                     1300 SUMMIT AVENUE
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                            SUITE 650
Given under my hand and the Seal of said Court at ofﬁce this 6th day of May, 2021.                                  FORT WORTH TX 76102
                                                                                                                             817-276-6000
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                             jgilmore@galyen.com



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                          By                                             Depu                                           NOT PAH)
                                CARLENIA BOULIGNY
                       Case 3:21-cv-01250-N Document 1-6 Filed 05/28/21                             Page 4 of 4 PageID 31




                                                          OFFICER'S RETURN
Case No.   :   DC-2l-05553
Court No. 191st District Court
Style:   JENNIFERTEMPLE
Vs.
WFAA-TV, INC.

Came to hand on the                     day of                            ,   20            , at              o'clock             .M. Executed at
                                    , within the County of                                         at                   o'clock            .M. on the
                     day   of                                                      , 20                     , by delivering to the within named




Each in person, a true copy of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same date of delivery.
The distance actually traveled by me in serving such process was            miles and my fees are as follows: To certify which witness my hand.
                    For serving Citation     $
                     For mileage           $                        of                              County,
                     For Notary            $                         by                                                           Deputy
                                               (Must be veriﬁed if served outside the State of Texas.)
Signed and sworn to by the said                                    before me this                  day of                              , 20             ,
To certify which witness my hand and seal of ofﬁce.


                                                                               Notary Public                                         County
                                                                                                                                                  ~




                                                                                      RETURN / AFFIDAVIT
                                                                                          PROOF    / ﬂTTABHED
